Case 1:22-cv-00061-TSK-JPM Document 515 Filed 05/30/23 Page 1 of 1 PageID #: 41330



                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


   REGENERON PHARMACEUTICALS, INC.,

              Plaintiff/Counter-Defendant,

        v.                                             CIVIL NO. 1:22-CV-61
                                                             (KLEEH)
   MYLAN PHARMACEUTICALS INC.,

              Defendant/Counter-Claimant.


                                      ORDER

        Because all pending motions in limine have been denied without

   prejudice, Regeneron’s motion to seal portions of its “Response to

   Mylan’s Untimely Motion to Strike Dr. Csaky’s Testimony” is DENIED

   AS MOOT [ECF No. 510].

        It is so ORDERED.

        The Clerk is DIRECTED to transmit copies of this Order to

   counsel of record.

        DATED: May 30, 2023

                                      ____________________________
                                      THOMAS S. KLEEH, CHIEF JUDGE
                                      NORTHERN DISTRICT OF WEST VIRGINIA
